                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )       No. 2:21-CR-00110
                                               )       Hon. W. Scott Hardy
KHALED MIAH                                    )

  DEFENDANT’S REPLY TO GOVERNMENT RESPONSE TO MOTION IN LIMINE
                 REQUESTING SPOLIATION SANCTION

   In its Response to Mr. Miah’s Motion in Limine (Doc. 151), the government underplays its

selective preservation of Mr. Miah’s online activity while claiming that it “preserved as much of

the accounts as it could via screenshot” to preserve the tweets for which it eventually charged him.

Doc. 164 at 5. This claim is false and significant context for the tweets is now irretrievable. The

government also misunderstands the law of spoliation and is mistaken in claiming that it had no

duty to preserve evidence in a prosecution only it knew it intended to bring. Lastly, while the

government focuses on the obstruction charge in count 8, Mr. Miah seeks relief for the

government’s spoliation only as it relates to the threat counts (Counts 1-7).

   A. The government failed to preserve potentially exculpatory evidence for crucial dates.

   The government both denies that it has any duty to preserve evidence of Mr. Miah’s Twitter

activity and then details its efforts to preserve all of his Twitter activity, for six accounts. But it

convolutes the timeline and ignores that it never issued a preservation request for the week of the

charged tweets. To explain this critical gap, the government makes the disingenuous argument that

issuing repeated preservation requests would be an end-run against wiretap laws. The government

spent hundreds of thousands of dollars surveilling Mr. Miah; it was investigating him for two years

for a public YouTube comment he made in 2019; it issued three preservation requests for six

Twitter accounts; agents raided his home months prior to arresting him and seized all of his

electronic devices; and the government had multiple informants embedded into his personal life.

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The government was monitoring Mr. Miah as closely as it could, but it is now asking the Court to

believe that it became wiretap-shy when it came to preserving the Twitter activity for the only

week that it alleges he made criminal statements. The government had a duty to preserve those

tweets; it was preserving his tweets up until the week of the alleged threats, and then it inexplicably

stopped. Only the government knew it would charge Mr. Miah’s public statements as federal

crimes.

   B. The government incorrectly states it did not have “control” of the Twitter content
      and excuses its failures as discipline.
   After the government’s claim that it had no duty to preserve, it argues that it did not have

“control” of Mr. Miah’s Twitter activity for the purposes of spoliation, without citing any cases to

support this claim. The test for “control” is “not limited to whether the party has a legal right to

those documents but rather that there is ‘access to the documents’ and ‘ability to obtain the

documents.’” New York v. Amtrak, 233 F.R.D. 259, 268 (N.D.N.Y. 2006). “If the party from whom

production is sought does not actually have the document in hand, courts look to whether

the party has control of it, construing the word ‘control’ broadly.” Royal Park Invs. SA/NV v.

Deutsche Bank Nat'l Trust Co., No. 14-CV-04394, 2016 U.S. Dist. LEXIS 133564, at *17

(S.D.N.Y. Sept. 27, 2016). “If the producing party has the legal right or the practical ability

to obtain the   documents,    then   it   is deemed to    have   ‘control’ even if   the   documents

are actually in the possession of a non-party.” Id. at *18. See also Power Integrations, Inc, v.

Fairchild Semiconductor Int’l, Inc., 233 F.R.D. 143, 146 (D. Del. 2005) (stating that control is

defined as the legal right to obtain the documents required on demand) (quoting Gerling Int’l Ins.

Co. v. Comm'r, 839 F.2d 131 (3d Cir. 1988)).

   Here, the government not only had the practical ability to obtain Mr. Miah’s Twitter records,

it was the only party who anticipated legal proceedings, and thus the only party who could have

preserved them. Meanwhile, it is a routine and common practice for individual Twitter users to
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delete their tweets. 1 Twitter has hundreds of millions of followers who regularly delete billions of

tweets, there are dozens of applications for deleting tweets, and in 2020 there was a significant rise

in people deleting their tweets. Users delete tweets for a variety of reasons including: cleaning up

their public timelines for potential employers, getting rid of embarrassing tweets, and recognizing

that their tweets may have been offensive. Andrew Hutchinson, People Were More Actively

Deleting Their Past Tweets in 2020, According to New Report, Social Media Today (Feb. 24,

2021), https://www.social mediatoday.com/news/people-were-more-actively-deleting-their-past-tweets-

in-2020-according-to/595696/. As a general rule, it is not illegal to delete one’s tweets. There are

exceptions when it may be illegal, but in this case, Mr. Miah had no way of knowing that his tweets

would be the subject of a threats charge. He was not told to preserve his tweets. The government

on the other hand knew that Mr. Miah regularly deleted tweets and accounts and it failed to

preserve them or give him notice of the need to preserve them.

    C. Exculpatory evidence of the full context of the alleged threats, and the FBI’s reaction
       to them, would have been critical to Mr. Miah’s defense.
    The government’s failure to preserve is important because the screenshots the FBI agents took

of the tweets are select portions of the whole picture of what was happening on Mr. Miah’s

account. As discussed in the motion, in determining whether a statement is a true threat, the context

of the statement is critical. In this case, Mr. Miah’s account as a whole, the other tweets he was

posting around the time, the reactions others had to the posts, who was following his account, and

who was liking his tweets is all critical information that the FBI agents who took the select

screenshots did not preserve. This is especially problematic because the alleged threats were



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 See Lance Whitney, How to Delete Twitter (and Your Terrible Tweets), PCMag (July 16, 2020)
https://www.pcmag.com/how-to/how-to-delete-twitter-and-your-terrible-tweets; see also How to delete a Tweet,
Twitter (November 8, 2021), https://help.twitter.com/en/using-twitter/delete-tweets.



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against these same FBI agents, the agents that Mr. Miah had insulted and ridiculed for months. In

their multi-year investigation, costing hundreds of thousands of dollars, the government had not

been able to indict Mr. Miah for anything. Then Mr. Miah posted five statements aimed at the

agents and they only manage to screenshot the parts of his account they found relevant.

   What is missing? Mr. Miah had only one follower on his account. We do not know who that

follower was but considering that the FBI was monitoring Mr. Miah’s account to screenshot it

regularly, it is a fair assumption that the FBI was following his account. Many of Mr. Miah’s

tweets were “favorited” with a heart icon by one person, including tweets that were critical of the

FBI. We do not know who favorited those tweets. With only one follower and the FBI the only

known viewer of Miah’s account, it is possible and even likely that FBI agents favorited these

tweets. If the agents favorited some of Mr. Miah’s tweets, that would provide critical context to

Mr. Miah’s statements, and also tends to undermine the government’s claim that the agents feared

bodily injury or death based on Mr. Miah’s tweets.

   Further, although the government states that Mr. Miah deleted his tweets very quickly, there is

no evidence of this and none of it has been preserved. It also suggests Mr. Miah posted other tweets

that would have provided critical context for the alleged threats. From the screenshots the FBI did

take it is clear Mr. Miah posted several comical and sarcastic tweets that would suggest he was

“trolling”, or intentionally angering, the agents—not threatening them. These tweets would also

be lost. If anyone else favorited or commented on Mr. Miah’s tweets, the defense does not have

that evidence either. Such evidence would have been critical to show how other viewers responded

to Mr. Miah’s tweets. Were they afraid? Or did they think the tweets were funny, or rude? The

FBI screenshots capture only what agents wanted to capture, a moment in time that loses all

potentially exculpatory evidence.



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    D. The Court should issue an adverse inference instruction and prohibit the FBI agents
       from testifying about unpreserved Twitter activity.
    As discussed in the motion, if this Court admits the FBI screenshots of the @ServiceFederal

account, the appropriate sanction to offset the significant prejudice to Mr. Miah that would result

from their incompleteness is an adverse inference instruction, and to prevent the FBI agents from

testifying about the lost Twitter account information. The government’s argument regarding a lack

of showing of bad faith is unpersuasive and the defense relies on the arguments in its motion on

the issue.

    To clarify the relief sought, the government’s Response refers entirely to Count 8, an

obstruction of justice charge based on Mr. Miah’s deletion of tweets. The government argues that

no spoliation relief is appropriate as it would reward Mr. Miah for deleting his tweets. But the

numerous government failures to preserve the Twitter account—even after the request of prior

defense counsel, and the fact that the lost Twitter content is critical context for the seven threat

counts—require relief. To be clear, Mr. Miah requests that the Court give an adverse instruction

that would apply only to the seven threat counts (Counts 1 through 7), not the obstruction of justice

charge (Count 8). An instruction permitting the jury to presume that the lost evidence would have

been favorable to Mr. Miah’s case as to Counts 1-7 is the least severe. The defense has reasonably

requested a qualified adverse inference instruction and not a dismissal of the case or an absolute

instruction. Such an instruction would not “reward” Mr. Miah for deleting his tweets; rather it

would avoid punishing him for the government’s failure to preserve relevant evidence when it

alone knew the tweets would be the subject of Mr. Miah’s indictment.

               Respectfully submitted this 8th day of November,

                                                      By: /s/ Charles D. Swift
                                                      Charles D. Swift
                                                      Allie J. Hallmark
                                                      Catherine McDonald

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    Pro Hac Vice Attorneys for Defendant
    100 N. Central Expy, Ste 1010
    Richardson, TX 75080
    (972)914-2507




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